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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO.

 JOEL D. LUCOFF,

       Plaintiff,

 v.

 NAVIENT SOLUTIONS, LLC, and
 STUDENT ASSISTANCE CORPORATION

       Defendants.

 _________________________________________/

                                     COMPLAINT
                                    JURY DEMAND

       1.     Plaintiff alleges violation of the Telephone Consumer Protection Act, 47

 U.S.C §227, et seq. (“TCPA”).

                             JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331. Mims v. Arrow Fin.

 Servs. LLC, 132 S. Ct. 740 (U.S. 2012). Mims v. ArrowFin. Servs. LLC, 2012 U.S.

 LEXIS 906 (U.S. 2012).

                                        PARTIES

       3.     Plaintiff, JOEL D. LUCOFF, is a natural person, and citizen of the State of

 Florida, residing in Broward County, Florida.

       4.     Defendant, NAVIENT SOLUTIONS, LLC, ("Navient") is a limited

 liability company formed under the laws of the State of Delaware and citizen of the State
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 of Delaware with its principal place of business at 2001 Edmond Halley Drive, Reston,

 Virginia 20191.

          5.    Navient is registered with the Florida Department of State Division of

 Corporations as a foreign limited liability company. Its registered agent for service

 of process is the Corporation Service Company, 1201 Hayes Street, Tallahassee,

 Florida 32301.

          6.    Navient is a successor to Navient Solutions, Inc.

          7.    Navient was formerly known as Sallie Mae, Inc.

          8.    Defendant, STUDENT ASSISTANCE CORPORATION, ("Student

 Assistance") is a corporation formed under the laws of the State of Delaware and citizen

 of the State of Delaware.

          9.    Student Assistance is registered with the Delaware Division of

 Corporations as a domestic corporation. Its registered agent for service of process

 is the Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware

 19808.

                                FACTUAL ALLEGATIONS

          10.   Defendants, or others acting on their behalf, left hundreds of pre-recorded

 telephone messages on Plaintiff's cellular telephone and called and hung-up with out

 leaving messages on other occasions, ("the telephone messages").

          11.   Plaintiff believes Defendants were calling him in an effort to collect or

 service a student loan.


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        12.    The messages are “communications” as defined by 15 U.S.C. §1692a(2).

 See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

        13.    Defendants, or others acting on their behalf, used an automatic telephone

 dialing system or a pre-recorded or artificial voice to place telephone calls to Plaintiff’s

 cellular telephone.

        14.    None of Defendants telephone calls placed to Plaintiff were for “emergency

 purposes” as specified in 47 U.S.C. §227 (b)(1)(A).

        15.    Defendants willfully or knowingly violated the TCPA.

                            COUNT I
      VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

        16.    Plaintiff incorporates Paragraphs 1 through 15.

        17.    Defendants, or others acting on their behalf, placed non-emergency

 telephone calls to Plaintiff’s cellular telephone using an automatic telephone dialing

 system or pre-recorded or artificial voice violation of 47 U.S.C § 227 (b)(1)(A)(iii).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendants for:

               a.      Damages;

               b.      a declaration that Defendants calls violate the TCPA;

               c.      a permanent injunction prohibiting Defendants from placing non-

               emergency calls to the Plaintiff's cellular telephone using an automatic

               telephone dialing system or pre-recorded or artificial voice; and



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              d.     Such other or further relief as the Court deems proper.

                                           JURY DEMAND

        Plaintiff demands trial by jury.

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